                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 1 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Western District of Texas
                                                   __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Cain
                                           c/o M3 Films LLC
                                           5642 Dyer St.
                                           Dallas, TX 75206-5004




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 2 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Western District of Texas
                                                   __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Cain
                                           M3 Films LLC
                                           c/o Melina McKinnon
                                           5706 E. Mockingbird Lane #115-156
                                           Dallas, TX 75206



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




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You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 3 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                        Western District of Texas
                                                    __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Cain
                                           c/o M3 Films LLC
                                           3883 Turtle Creek Boulevard
                                           Dallas, TX 75219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 4 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                        Western District of Texas
                                                    __________              __________

               JULIA HUBBARD and KAYLA                                  )
                     GOEDINGHAUS                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                        )
             TRAMMELL S. CROW, JR., et al.                              )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) H.J. Cole
                                           c/o H.J. Cole & Associates
                                           1302 Wrangler Way
                                           Princeton, TX 75407




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 5 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Western District of Texas
                                                   __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kurt Knewitz
                                           3517 Windhaven Pkwy, Apt 1403
                                           The Colony, TX 75056-6945




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 6 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Western District of Texas
                                                   __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mrugeshkumar Shah, M.D.
                                           809 Clack Drive
                                           Garland, TX 75044




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 336 Filed 06/13/24 Page 7 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                       Western District of Texas
                                                   __________              __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mrugeshkumar Shah, M.D.
                                           10400 North Central Expressway
                                           Dallas, TX 75231




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
